       Case 1:23-cv-03432-CRC          Document 14         Filed 04/25/25    Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PROTECT THE PUBLIC’S TRUST,

                Plaintiff,

        v.                                                 Civil Action No. 23-3432 (CRC)

 U.S. DEPARTMENT OF EDUCATION,

                Defendant.


                                 JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated January 10, 2025, the parties provide the

following Joint Status Report in this Freedom of Information Act (“FOIA”) action regarding

Plaintiff’s request to the Department of Education (“Defendant’).

       Since the last joint status report on January 8, 2025, Defendant has produced documents

on January 31, 2025, and February 28, 2025. The currently estimated completion date is not yet

known because the time to complete processing is heavily dependent on other government

agencies to whom records have been sent for consultation.



                                        *      *       *
        Case 1:23-cv-03432-CRC         Document 14         Filed 04/25/25    Page 2 of 2




        The parties propose filing another status report on or before July 8, 2025, to update the

Court about the processing of records. The parties will continue to meet and confer regarding any

issues that may arise.

 Dated: April 25, 2025                         Respectfully submitted,
        Washington, DC

 By:           /s/ Karin Sweigart              EDWARD R. MARTIN, JR., D.C. Bar #481866
       Karin Sweigart                          United States Attorney
       DHILLON LAW GROUP, INC.
       177 Post Street Suite 700
       San Francisco, CA 94108
       (415) 433-1700
                                               By:           /s/ Brian J. Levy
 Attorney for Plaintiff                              BRIAN J. LEVY
                                                     Assistant United States Attorney
                                                     601 D Street, NW
                                                     Washington, DC 20530
                                                     (202) 252-6734

                                               Attorneys for the United States of America




                                              -2-
